           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

                      CRIMINAL CASE NO. 3:00cr127-01


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
ELGIN JEROME HOLLY.       )
                          )

      THIS MATTER is before the Court on the Defendant’s Motion to

Reconsider and Objection to Supplement to Presentence Report [Doc. 86],

filed May 29, 2008.

      The Court will allow defense counsel an opportunity to respond to the

Supplement because he was inadvertently omitted from service. However,

the Court will not vacate its previous order prior to consideration of any

further filing.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Reconsider and Objection to Supplement to Presentence Report [Doc. 86]

is hereby GRANTED IN PART AND DENIED IN PART and on or before

five (5) business days from entry of this Order, the Defendant may file

response to the Supplement to Presentence Report.


       Case 3:00-cr-00127-RJC   Document 87    Filed 05/29/08   Page 1 of 2
                              Signed: May 29, 2008




Case 3:00-cr-00127-RJC   Document 87      Filed 05/29/08   Page 2 of 2
